
USCA1 Opinion

	










          September 11, 1995    [NOT FOR PUBLICATION]


                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                       


                                 ____________________


        No. 95-1227 

                                WILFREDO SANTOS ISAAC,

                                Plaintiff, Appellant,

                                          v.

                       SECRETARY OF HEALTH AND HUMAN SERVICES,

                                 Defendant, Appellee.


                                 ____________________


                                     ERRATA SHEET



            The  opinion of this court  issued on September 6, 1995 is amended
        as follows:

            On  cover sheet:   Change  "WILFREDO  SANTOS ISAAC"  to  "WILFREDO
        SANTOS-  ISAAC".

            On page  2:  First line.  Change "Claimant, Wilfredo Santos Isaac"
        to "Claimant, Wilfredo Santos-Isaac".
































        September 6, 1995
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                      
                                 ____________________


        No. 95-1227 

                                WILFREDO SANTOS-ISAAC,

                                Plaintiff, Appellant,

                                          v.

                       SECRETARY OF HEALTH AND HUMAN SERVICES,

                                 Defendant, Appellee.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO


                    [Hon. Jose Antonio Fuste, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                           Selya and Lynch, Circuit Judges.
                                            ______________

                                 ____________________

            Luis Vizcarrondo-Ortiz  and Salvador  Medina De  La Cruz on  brief
            ______________________      ____________________________
        for appellant.
            Guillermo  Gil,  United  States Attorney,  Maria  Hortensia  Rios-
            ______________                             _______________________
        Gandara, Assistant United States Attorney, and Robert J. Triba, Acting
        _______                                        _______________
        Chief Counsel, Social Security Administration, on brief for appellee.














                                 ____________________


                                 ____________________






































































                      Per  Curiam.    Claimant,   Wilfredo  Santos-Isaac,
                      ___________

            appeals  from the affirmance of the decision of the Secretary

            of  Health  and Human  Services that  he  is not  entitled to

            Social   Security   disability  benefits.      The  Secretary

            determined that,  although claimant  could not return  to his

            past  work, his  high  blood pressure  and  epilepsy did  not

            prevent him from  performing light work.  Claimant objects to

            this conclusion on essentially three grounds which we address

            in turn.

                      1.  Claimant argues  that the Secretary ignored the

            residual functional capacity (RFC) assessment completed by an

            examining neurologist.  In  this form, the neurologist stated

            that due to claimant's epilepsy, he "is limited in lifting or

            carrying any  weight since he  can drop object[s]  and damage

            them  or get hurt."  Claimant contends that because he cannot

            lift anything, he is precluded from working at any job.

                      What claimant fails to mention is the neurologist's

            specific  finding   that  claimant   has   the  capacity   to

            occasionally lift 10 pounds and frequently  lift less than 10

            pounds.   Contrary to  claimant's assertion, then,  he is not

            completely precluded from lifting and claimant does not point

            to any  other evidence to  back his  position.  We  also note

            that although light work involves the ability to occasionally

            lift  20 pounds,  there  is record  evidence  to support  the

            Secretary's conclusion that claimant  can lift and carry this



                                         -2-















            much weight.   Specifically, there  are two  other RFC  forms

            which  indicate  that  claimant  has no  limitations  on  his
                                                 __

            ability to lift and carry.  Because these RFC assessments are

            the  only  data  in  the  record  concerning  the  impact  of

            claimant's  impairments  on  his  exertional  limitations, we

            cannot say  that there  was insufficient evidence  to support

            the Secretary's decision  in this regard.   See Rodriguez  v.
                                                        ___ _________

            Secretary  of Health and  Human Services,  647 F.2d  218, 222
            ________________________________________

            (1st  Cir.  1981)  (conflicts in  the  evidence  are  for the

            Secretary).1

                      2.   Claimant next contends that the administrative

            law judge (ALJ) did not fully consider the combined effect of

            all claimant's subjective complaints  -- shortness of breath,

            muscle aches, chest pain,  somnolence, fatigue, dizziness and

            difficulty  with balance.  In his  decision, the ALJ credited

            these  complaints but found that  they were not  as severe or

            disabling  as  claimant  alleged.   In  particular,  the  ALJ

            reasoned that  if claimant  took his medicine  as prescribed,

            most  of  the  symptoms   about  which  he  complained  would

            disappear.   As for  the somnolence and  balance problems  --


                                
            ____________________

            1.  A determination that an individual has the  ability to do
            light work encompasses a finding that that person also can do
            sedentary work, 20 C.F.R.   404.1567(b), and the record fully
            supports the conclusion that  claimant can perform such work.
            That  is,  even  the  examining  neurologist  indicated  that
            claimant could lift objects weighing no more than  10 pounds;
            further,  claimant, by his own admission, has the capacity to
            sit for extended periods of time.

                                         -3-















            side effects of claimant's medications -- the ALJ stated that

            changes  in the  dosage or  type  of medicine  probably could

            reduce these symptoms.

                      "[S]ubjective symptoms must  be evaluated with  due

            consideration   for   credibility,  motivation   and  medical

            evidence  of impairment."  Gray v. Heckler, 760 F.2d 369, 374
                                       ____    _______

            (1st  Cir.  1985)   (per  curiam).    The  ALJ  here  doubted

            claimant's  credibility,  pointing out,  as an  example, that

            claimant gave conflicting accounts  of the number of seizures

            he had experienced.   Specifically, claimant had informed the

            examining  neurologist that  he had  been free  from seizures

            during the period from mid-January to mid-July in 1992.  Yet,

            at  the   1993  hearing,   claimant  submitted   a  statement

            signifying that  he had  experienced over 40  seizures during

            this time.   We note  that claimant's credibility  is further

            diminished in this  regard by the complete dearth of evidence

            in the medical record that claimant ever complained about his

            subjective complaints to those treating him.

                      Thus, while  the record shows that claimant suffers

            from  epilepsy and high  blood pressure, it  does not support

            his allegations of disabling symptomatology.  Given this, the

            Secretary  was  not  required  to obtain  a  medical  opinion

            directed  at evaluating these  complaints.   Finally, because

            the  ALJ  decided to  discredit  the  severity of  claimant's

            subjective symptoms, he did not err in similarly discrediting



                                         -4-















            the  response  of the  vocational  expert that  a  person who

            actually experienced these severe complaints could not work.

                      3.  Claimant's last  argument is that the Secretary

            was  precluded   from  relying  on  his   failure  to  follow

            prescribed  treatment  in  concluding that  claimant  was not

            disabled.    To support  this  argument,  claimant points  to

            Social Security Ruling 82-59.  This Ruling states:

                      An  individual  who  would  otherwise  be
                      found to be under  a disability, but  who
                      fails without justifiable cause to follow
                      treatment prescribed by a treating source
                      which   the   Social  .   .   .  Security
                      Administration  . .  . determines  can be
                      expected  to   restore  the  individual's
                      ability to work, cannot by virtue of such
                      "failure"   be  found   to  be   under  a
                      disability.

            Claimant asserts  that his  failure to follow  the prescribed

            treatment was "justifiable" and should not preclude a finding

            of  disability.    Specifically,  claimant  argues  that  the

            medical personnel who treated him had failed to inform him of

            the importance of taking the medication as prescribed.

                      We need not reach the question whether claimant was

            justified in his actions, however, because he is not a person

            who is  "otherwise . . .  under a disability."   That is, the

            Secretary did  not determine  that claimant was  disabled but

            that his failure to  observe medical directions precluded him

            from receiving  disability benefits.   Rather,  the Secretary

            found that  claimant was not disabled  because his condition,

            as  reflected in the medical record, did not prevent him from


                                         -5-















            engaging  in light work.   The reference by  the Secretary to

            claimant's failure  to take his medication  as prescribed was

            made  in  the  course  of  discussing  claimant's  subjective

            complaints.   This is not the same  as relying on this factor

            to establish that claimant is not under a disability.

                      For  the foregoing  reasons,  the  judgment of  the

            district court is affirmed.
                              ________







































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